            Case 19-01227-5-JNC                   Doc 1 Filed 03/17/19 Entered 03/17/19 15:40:30                                  Page 1 of 3/17/19
                                                                                                                                            12 3:38PM

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CAH Acquisition Company 16, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Haskell County Community Hospital
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  401 NW H Street                                                 PO Box 955745
                                  Stigler, OK 74462-1625                                          Saint Louis, MO 63195
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Haskell                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.haskellhospital.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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                                                                                                                                                      12 3:38PM
Debtor    CAH Acquisition Company 16, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6221

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          Western District of
     separate list.                               District   Missouri                      When      10/10/11                    Case number   11-4750
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                         CAH Acquisition Company Company #1, LLC
     attach a separate list                       Debtor     d/b/a Washington County Hosp                                    Relationship            Affiliate
                                                             Eastern District of
                                                  District   North Carolina                When       2/19/19                Case number, if known   19-00730-5-JNC



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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                                                                                                                                                12 3:38PM
Debtor   CAH Acquisition Company 16, LLC                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    CAH Acquisition Company 16, LLC                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 17, 2019
                                                  MM / DD / YYYY


                             X   /s/ Jorge Perez                                                          Jorge Perez
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Board Chairman




18. Signature of attorney    X   /s/ Rayford K. Adams III                                                  Date March 17, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Rayford K. Adams III
                                 Printed name

                                 Spilman Thomas & Battle, PLLC
                                 Firm name

                                 110 Oakwood Drive
                                 Suite 500
                                 Winston Salem, NC 27103
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     336-725-4710                  Email address      tadams@spilmanlaw.com

                                  NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name CAH Acquisition Company 16, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Airgas Mid South,                                               Open Account                                                                                               $9,747.24
 Inc.
 PO Box 676015
 Dallas, TX 75267
 Alere North                                                     Open Account                                                                                               $3,768.60
 America, Inc.
 PO Box 846153
 Boston, MA 02284
 Arnett Carbis                                                   Open Account                                                                                             $25,000.00
 Toothman, LLP
 101 Washington
 Street East
 Charleston, WV
 25301
 AT&T                                                            Open Account                                                                                               $7,058.21
 PO Box 5001
 Carol Stream, IL
 60197
 Beckman Coulter,                                                Open Account                                                                                               $8,947.31
 Inc.
 PO Box 41601
 Phildelphia, PA
 19101
 Cardinal Health 411,                                            Open Account                                                                                               $4,726.27
 Inc.
 PO Box 847384
 Dallas, TX 75284
 Farnam Street                                                   Open Account                                                                                               $3,781.19
 Financial Inc.
 240 Pondview Plaza
 /
 5854 Opus Parkway
 Hopkins, MN 55343
 First Financial Corp                                            Open Account                                                                                               $4,250.84
 Po Box 87618 / Dept
 2067
 Chicago, IL 60680


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    CAH Acquisition Company 16, LLC                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Gemino Healthcare                                                                                               $4,600,000.00                         $0.00          $4,600,000.00
 Finance
 1 International Plaza
 Suite 220
 Philadelphia, PA
 19113
 iHealthcare, Inc.                                               Open Account                                                                                           $472,625.00
 3901 NW 28th Street
 , 2nd Floor
 Miami, FL 33142
 Keith Plummer                                                   Open Account                                                                                               $4,745.38
 10150 Bullett Prairie
 Road
 Tishomingo, OK
 73460
 M&T Bank                                                                                                              $5,000.00                       $0.00                $5,000.00

 McKesson                                                        Open Account                                                                                               $5,784.97
 Corporation
 1950 Stemmons
 HWY, #5010
 Dallas, TX 75207
 Missouri Network                                                Open Account                                                                                             $78,800.01
 Alliance, LLC
 2005 West
 Broadway, Building
 A
 Suite 215
 Columbia, MO 65203
 Quality Systems,                                                Open Account                                                                                           $177,945.37
 Inc.
 PO Box 511449
 Los Angeles, CA
 90051
 Reboot Inc.                                                     Open Account                                                                                             $86,088.00
 PO Box 80019,
 #86038
 Indianapolis, IN
 46280
 Rural Community                                                 Open Account                                                                                           $263,732.06
 Hospitals of Americ
 Attn: Steven F.
 White
 700 Chappell Road
 Charleston, WV
 25304
 Shared Medical                                                  Open Account                                                                                             $54,600.00
 Services, Inc.
 PO Box 330
 Cottage Grove, WI
 53527



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    CAH Acquisition Company 16, LLC                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Siemens Healthcare                                              Open Account                                                                                               $4,171.10
 Diagnostics
 PO Box 121102
 Dallas, TX 75312
 Sysmex America,                                                 Open Account                                                                                               $8,779.10
 Inc.
 39923 Treasury
 Center
 Chicago, IL 60694




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      CAH Acquisition Company 16, LLC                                                               Case No.
                                                                                     Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Board Chairman of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 17, 2019                                               /s/ Jorge Perez
                                                                          Jorge Perez/Board Chairman
                                                                          Signer/Title




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Abbott Diabetes Care, Inc.         Briggs Corporation                  Fedex
PO Box 92679                       7300 Westown Parkway                PO Box 660481
Chicago, IL 60675                  West Des Moines, IA 50266           Dallas, TX 75266




Airgas Mid South, Inc.             Cardinal Health 411, Inc.           First Financial Corp
PO Box 676015                      PO Box 847384                       Po Box 87618 / Dept 2067
Dallas, TX 75267                   Dallas, TX 75284                    Chicago, IL 60680




Alere North America, Inc.          Chemical Systems, Inc.              Gemino Healthcare Finance
PO Box 846153                      4520 Kelly Hwy                      1 International Plaza
Boston, MA 02284                   Fort Smith, AR 72904                Suite 220
                                                                       Philadelphia, PA 19113



Anthony Technology, LLC            Commercial Medical Electronics      Glaxosmithklin
1216 Kenosha Street, #266          PO Box 4567                         5 Crescent Drive
Broken Arrow, OK 74012             Tulsa, OK 74159                     Philadelphia, PA 19112




Arnett Carbis Toothman, LLP        CR Bard, Inc.                       Heartland Pathology Consultant
101 Washington Street East         PO Box 75767                        2509 Frenck Park Drive, Suite D
Charleston, WV 25301               Charlotte, NC 28275                 Edmond, OK 73034




AT&T                               Diamedical USA Equipment, LLC       Helmer
PO Box 5001                        7013 Orchard Lake Road, Suite 110   14395 Bergen Blvd.
Carol Stream, IL 60197             West Bloomfield, MI 48322           Noblesville, IN 46060




Beckman Coulter, Inc.              Empower HMS                         Hospira Worldwide, Inc.
PO Box 41601                       1700 Swift Avenue                   75 Remittance Drive, Suite 6136
Phildelphia, PA 19101              Suite 200                           Chicago, IL 60675
                                   Kansas City, MO 64116



Bemac Supply - McAlester           EPower Doc, Inc.                    iHealthcare, Inc.
PO Box 70                          PO Box 241642                       3901 NW 28th Street , 2nd Floor
836 E. Carl Albert Pkwy            Omaha, NE 68124                     Miami, FL 33142
McAlester, OK 74501



BH Media Group                     Farnam Street Financial Inc.        Keith & Associates, Inc.
315 S. Boulder Ave.                240 Pondview Plaza /                115 W. Third Street, Suite 800
Tulsa, OK 74103                    5854 Opus Parkway                   Tulsa, OK 74103
                                   Hopkins, MN 55343
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Keith Plummer                       Medassure                            Passport Health Communications, In
10150 Bullett Prairie Road          920 E. County Line Road, Suite 103   PO Box 886133
Tishomingo, OK 73460                Lakewood, NJ 08701                   Los Angeles, CA 90088




Laboratory Supply Company           Medical Imaging Solutions Int        Patterson Medical
1951 Bishop Lane, Suite 300         PO Box 60479                         PO Box 93040
Louisville, KY 40218                Charlotte, NC 28260                  Chicago, IL 60673




Locke Supply Co.                    Medline                              Pied Peper Services of NA, LLC
Po Box 24980                        Dept 1080; PO Box 121080             PO Box 1300
Oklahoma City, OK 73124             Dallas, TX 75312                     Eufaula, OK 74432




M&T Bank                            Miller Office Equipment              Pointer Communicatins
                                    900 E. Wyandotte Ave.                15522 E. 80th Street N.
                                    McAlester, OK 74501                  Owasso, OK 74055




MASSCO                              Missouri Network Alliance, LLC       Quality Systems, Inc.
551 E. 77th Street N.               2005 West Broadway, Building A       PO Box 511449
Park City, KS 67147                 Suite 215                            Los Angeles, CA 90051
                                    Columbia, MO 65203



Mastercraft Boiler                  Novitas Solutions, Inc.              Reboot Inc.
Po Box 1658                         PO Box 3105                          PO Box 80019, #86038
Van Buren, AR 72957                 Mechanicsburg, PA 17055              Indianapolis, IN 46280




Matheson Tri-Gas                    Office Depot, Inc.                   Respironics, Inc.
PO Box 123028                       PO Box 630813                        PO Box 405740
Dallas, TX 75312                    Cincinnati, OH 45263                 Atlanta, GA 30384




McKesson Corporation                Oklahoma Natural Gas Co.             Rural Community Hospitals of Ame
1950 Stemmons HWY, #5010            PO Box 219296                        Attn: Steven F. White
Dallas, TX 75207                    Kansas City, MO 64121                700 Chappell Road
                                                                         Charleston, WV 25304



McKesson Medical Surgical           Ortho-Clinical Diagnostics Inc.      Shamrock Scientific
PO Box 634404                       PO Box 3655                          34 Davis Drive
Cincinnati, OH 45263                Carol Stream, IL 60132               PO Box 143
                                                                         Bellwood, IL 60104
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Shared Medical Services, Inc.
PO Box 330
Cottage Grove, WI 53527




Siemens Healthcare Diagnostics
PO Box 121102
Dallas, TX 75312




SMC Direct, LLC
PO Box 81238
Pittsburgh, PA 15217




SourceOne Healthcare Tech
4444 Viewridge Ave., Suite A
San Diego, CA 92123




Stigler Municipal Imp Auth
115 South Broadway
Stigler, OK 74462




Stigler News Sentinel
PO Box 549
Stigler, OK 74462




Sysmex America, Inc.
39923 Treasury Center
Chicago, IL 60694




Threattrack Security
33 N. Garden Ave., Suite 1200
Clearwater, FL 33755




United Linen & Uniform
PO Box 458
Bartlesville, OK 74005
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      CAH Acquisition Company 16, LLC                                                               Case No.
                                                                                     Debtor(s)            Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CAH Acquisition Company 16, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Health Acquisition Company, LLC

 HMC CAH Consolidated, Inc.




    None [Check if applicable]




 March 17, 2019                                                         /s/ Rayford K. Adams III
 Date                                                                   Rayford K. Adams III
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for CAH Acquisition Company 16, LLC
                                                                        Spilman Thomas & Battle, PLLC
                                                                        110 Oakwood Drive
                                                                        Suite 500
                                                                        Winston Salem, NC 27103
                                                                        336-725-4710 Fax:336-725-4476
                                                                        tadams@spilmanlaw.com




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